                     Case 6:14-cr-06038-EAW-JWF Document 405 Filed 02/20/19 Page 1 of 2


ROTHENBERG LAW
TRIAL LAWYERS




David Rothenberg, Esq.
                              February 20, 2019
Times Square Building
45 Exchange Blvd, Suite 800
Rochester, NY 14614

                              BY EMAIL ONLY [dawn_samuel@nywd.uscourts.gov]
Phone (585) 232-1946
Fax: (585) 232-4746
                              Hon. Elizabeth A. Wolford
david@rothenberglawyers.com   United States District Judge
rothenberglawyers.com
                              Kenneth B. Keating Federal Building
                              100 State Street
                              Rochester, New York 14614

                              Re:    United States v. Alexander Green, et ano.
                                     14-cr-6038


                              Dear Judge Wolford:

                              I am writing, with no small degree of trepidation, to request a brief adjournment of
                              sentencing—one that will not interfere with the court’s schedule for sentencing co-
                              defendants in this case.

                              First of all, I am now scheduled to start a lengthy commercial trial in Supreme
                              Court on March 12. My guess is that the trial will last three weeks. Not only does the
                              sentencing fall within the middle of that trial, but preparation for sentencing will be
                              extremely difficult while I am engaged in that matter. Secondly, we are in the
                              process of obtaining materials from recently-identified treatment providers in Alex
                              Green’s background, in response to questions that arose in the PSR, or to fill in gaps
                              in his history, and we need a little more time to finish that process.

                              We believe that if we are granted a three-week adjournment, we will have enough
                              time to obtain this additional important background information, and provide the
                              same to Probation Officer Sarah Whitcomb, and Your Honor, in sufficient time
                              before sentencing. In that regard, we would also request a concomitant
                              adjournment of the other deadlines in Your Honor’s Sentencing Guideline Order.
                              Lastly, I note that a three-week adjournment will not delay the sentencing of any of
                              the other defendants who are scheduled to be sentenced in April.

                              I have contacted the government in advance of this request; the government does
                              not consent to this request for adjournment.
            Case 6:14-cr-06038-EAW-JWF Document 405 Filed 02/20/19 Page 2 of 2

ROTHENBERG LAW


Hon. Elizabeth A. Wolford
February 20, 2019



                        Thank you very much for your consideration of this request.


                        Respectfully,

                        David Rothenberg
                        David Rothenberg

                        DR/be


                        cc:     Sean Eldridge, AUSA [sean.eldridge@usdoj.gov]
                                Sarah Whitcomb, USPO [sarah_whitcomb@nywp.uscourts.gov]
                                Jaimie Nawaday, Esq. [jnawaday@kelleydrye.com]
                                William Easton, Esq. [wteaston@etksdefense.com]




                                                                                          Page 2 of 2
